Case: 1:10-cv-04603 Document #: 1942 Filed: 06/04/25 Page 1 of 30 PageID #:32998




                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

DON LIPPERT, et al.,                     )
                                         )
                   Plaintiffs,           )   No. 10-cv-4603
      v.                                 )
                                         )   Judge Jorge L. Alonso
LATOYA HUGHES, et al.,                   )
                                         )
                   Defendants.           )

  PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO ENFORCE AND FOR AN
        ORDER TO SHOW CAUSE FOR DEFENDANTS’ PERSISTENT
    BREACH OF THE DECREE’S STAFFING AND RELATED PROVISIONS
 Case: 1:10-cv-04603 Document #: 1942 Filed: 06/04/25 Page 2 of 30 PageID #:32999




                                                     TABLE OF CONTENTS

TABLE OF CONTENTS ................................................................................................................. i
TABLE OF AUTHORITIES........................................................................................................... ii
INTRODUCTION .......................................................................................................................... 1
ARGUMENT .................................................................................................................................. 3
   1.     The Consent Decree clearly and explicitly requires Defendants to have enough staff to
            implement the Decree and provide adequate medical and dental care............................ 3
   2.     Defendants have the burden to show their compliance with all provisions of the Consent
           Decree, and they have never demonstrated that they have “adequate . . . staff” or are
           making progress towards that goal. ................................................................................. 4
   3.     Information on the number of off-site referrals to hospitalists, specialists, or
            diagnosticians proves nothing about the adequacy of Defendants’ on-site staffing, nor
            does it prove anything about the quality of care Defendants provide to patients in need
            of such services. .............................................................................................................. 5
   4.     Contrary to Defendants’ misleading assertions, the Monitor’s “partial compliance” ratings
           in some areas does not prove that they are making diligent efforts towards compliance.
            ......................................................................................................................................... 8
   5.     The Monitor’s findings related to inadequate staffing are based on defendants’ inability to
            implement the Decree’s requirements and provide adequate care, not merely
            defendants’ failure to fill their budgeted positions. ....................................................... 10
   6.     Defendants make a specious attack the Monitor’s use of record samples and mortality
           reviews without any methodological support................................................................ 10
   7.     Defendants’ assertion that they have “succeeded at increasing staffing” is false. ............ 13
   8.     The staffing “ratios” generated by Defendants in their Response are meaningless and
            misleading, and demonstrate nothing about the adequacy of Defendants’ staffing. ..... 15
   9.     Plaintiffs’ request for this Court to find a violation (or “breach”) of the Decree is not
            barred by (and does not even implicate) sovereign immunity....................................... 18
   10.        A finding of “breach” (or violation, or failure to comply) is an appropriate first step in
              contempt proceedings under a Consent Decree. ........................................................... 20
   11.        Given the procedure outlined by this Court for making a finding of contempt,
              Defendants’ arguments related to PLRA findings and contempt showings are
              premature. ...................................................................................................................... 21
   12.        Plaintiffs have completed the dispute resolution process as to Defendants’ persistent
              staffing deficiencies, and Defendants have continually refused to propose any plan to
              improve their staffing. ................................................................................................... 23
CONCLUSION ..............................................................................................................................26

                                                                          i
 Case: 1:10-cv-04603 Document #: 1942 Filed: 06/04/25 Page 3 of 30 PageID #:33000




                                           TABLE OF AUTHORITIES

Cases

Edwards v. Snyder, 478 F.3d 827 (7th Cir. 2007). .......................................................................... 8
Lewis v. Cain, 701 F. Supp. 3d 361 (M.D. La. 2023) .............................................................. 12-13
Frew ex rel. Frew v. Hawkins, 540 U.S. 431 (2004) ..................................................................... 19
Holmes v. Godinez, 991 F.3d 775 (7th Cir. 2021) .................................................................... 19-20
Jensen v. Shinn, 609 F. Supp. 3d 789 (D. Ariz. 2022), amended, No. CV-12-00601-PHX-ROS,
       2022 WL 2910835 (D. Ariz. July 18, 2022) ..................................................................... 12
Kokkonen v. Guardian Life Ins. Co. of America, 511 U.S. 375 (1994) ......................................... 20
Local No. 93, International Assoc. of Firefighters, AFL-CIO C.L.C., 478 U.S. 501 (1986)..…...20
McDonagh Assocs., Inc. v. Grunloh, 722 F.3d 1043 (7th Cir. 2013) ............................................ 19
Mon Ros Int'l for Gen. Trading & Contracting, W.L.L. v. Anesthesia USA, Inc., No. 17 C 7365,
      2019 WL 132596 (N.D. Ill. Jan. 8, 2019) ......................................................................... 23
Pennhurst State School & Hospital v. Halderman, 485 U.S. 89 (1984) ....................................... 19
Petties v. Carter, 836 F.3d 722 (7th Cir. 2016), as amended (Aug. 25, 2016) ............................... 8
Rasho v. Walker, 22 F.4th 703, 706 (7th Cir. 2022)……………………………………………...20

United States v. Alshabkhoun, 277 F.3d 930 (7th Cir. 2002)…………………………………….20




                                                             ii
 Case: 1:10-cv-04603 Document #: 1942 Filed: 06/04/25 Page 4 of 30 PageID #:33001




                                        INTRODUCTION

       Defendants’ immense brief evades the core issues and willfully misunderstands the future

course of proceedings here. If the Court concludes that plaintiffs’ motion provides sufficient

basis for a proceeding on contempt, it should (as plaintiffs explicitly requested), make a finding

that defendants have breached the provisions of the Decree set out in Exhibit 1 and that the

breaches are due in whole or in part to inadequate medical and dental staffing, and, at the

upcoming June 18 status hearing, set a show cause hearing on contempt for a future date and

enable the parties to prepare appropriately for this serious event. If the Court feels that an

affidavit as set forth in Local Rule 37.1 or any other form of written presentation in advance of

the hearing will be useful, it can order that as well. Thereafter, if the Court concludes, at the end

of the evidentiary hearing on contempt, that an order for relief is warranted, it can direct a

process for crafting such an order and submitting proposed findings—including findings under

Section 3626(a) of the Prison Litigation Reform Act—to support the order.

        Defendants’ response does not, and cannot, demonstrate that they are in compliance with

the clear and unambiguous staffing requirements of the Consent Decree, nor does it even attempt

to refute the evidence that members of the plaintiff class are suffering ongoing, irreparable harm

because of defendants’ failure to comply with the staffing requirements of the Decree. In the

course of two rounds of briefing on these issues, defendants have made no effort to demonstrate

that they have hired, or even have a plan to hire, the staff required by their own “final” staffing

analysis submitted in August 2021. Dkt. 1814-2. Rather, they now argue that they have never

performed the analysis required by the Decree—an analysis of staff needed “to accomplish the

obligations and objectives of this Decree,” Dkt. 1557 at 18, § IV.A—and that their “final”

staffing analysis therefore cannot be used by the Court or anyone else to determine how many or



                                                  1
 Case: 1:10-cv-04603 Document #: 1942 Filed: 06/04/25 Page 5 of 30 PageID #:33002




what kind of medical and dental staff they actually might need. Dkt. 1934 at 6 (ECF 10).

Defendants have thus admitted to violating this clear and unambiguous command of the Decree.

       Defendants also fail to respond in any meaningful way to the Monitor’s repeated and ever

more urgent findings that, over the course of six years, they have failed to make any visible

progress—and failed to provide any proof of progress—on the core commitments to have

“adequate qualified staff,” “enough trained clinical staff,” or “oversight by qualified

professionals.” Dkt. 1557 at 5, §§ II.B.2, 3. These too are clear and unambiguous obligations.

Defendants’ failure to honor them has both breached the Decree and caused ongoing suffering, as

has their breach of the multiple other unambiguous Decree provisions raised by plaintiffs’ motion

and supported by the Monitor’s reports.

       Rather than engaging with these findings made by experts in the field who have

assiduously reviewed defendants’ own data, defendants litter 62 pages with some handpicked

numbers (no native format documents provided), an accounting of how much is spent on outside

care (irrelevant here), and a “staffing ratio” based on chart in a 2017 report whose methodology

defendants do not even purport to follow. Even if their “staffing ratio” had a solid foundation, it

would be useless as a means to assess defendants’ progress: nationwide ratios are “meaningless

without an analysis of [] the quality of care in the comparison states” and analysis of “patient

severity of illness [and] comorbid health problems,” “physical plant,” “operational factors [], and

adequacy of custody staffing,” as well as “staff experience,” “licensure level,” and “degree of

training,” among other factors. Affidavit of Dr. Marc Stern, Exhibit 2, at ¶¶ 5, 7.

       Defendants ignore the Monitor’s conclusions except to misrepresent the reports’ findings

of “partial compliance”—defendants both misrepresent the Decree definition and the basis for

the Monitor’s conclusions. Defendants provide no expert opinion of their own. They round out



                                                 2
 Case: 1:10-cv-04603 Document #: 1942 Filed: 06/04/25 Page 6 of 30 PageID #:33003




their argumentation against contempt with a mystifying claim about sovereign immunity,

unsupported by case law, and a now-familiar attack on plaintiffs’ efforts to use the dispute

resolution process to address the problems here—efforts which have been made, but yielded no

results.

           Plaintiffs have made a more than sufficient showing to warrant setting a proceeding on

contempt. Given defendants’ failure to present any evidence of their compliance with the

Decree’s terms cited above and in Exhibit 1, the Monitor’s unrebutted findings may be used as

evidence of ultimate issues in this case. Dkt. 1557 at 27-28, §X.D.

           It is long past time for defendants to increase their medical and dental staff in meaningful

and thoughtful ways, so that they can provide “adequate . . . care” to the prisoners in their charge

and implement this Consent Decree before it expires. Defendants’ arguments to the contrary are

addressed below.

                                             ARGUMENT

    1. The Consent Decree clearly and explicitly requires Defendants to have enough staff
       to implement the Decree and provide adequate medical and dental care.
           The Decree affirmatively requires that defendants “shall require, inter alia, adequate

qualified staff …”. Dkt. 1557 at 5, § II.B.2. Multiple other sections of the Decree reinforce this

requirement. Defendants have not done this, and rather than admitting their failure, they now

argue that Plaintiffs are trying to impose duties that “do not appear in the decree.” Dkt. 1934 at

38-39 (ECF 42-43). To the contrary, it is quite plain that the requirement to hire and maintain

adequate staffing—to provide “enough trained clinical staff,” to provide “sufficient

administrative staff,” and to provide “access to an appropriate level of primary, secondary, and

tertiary care,” which cannot be achieved without staff—are fundamental commitments of this

negotiated Consent Decree. Id. at 5, §§ II.A, II.B.1-3.


                                                    3
 Case: 1:10-cv-04603 Document #: 1942 Filed: 06/04/25 Page 7 of 30 PageID #:33004




       Despite the numerous distortions and misrepresentations made by defendants throughout

their Response, the Monitor’s most recent report makes very plain that defendants simply have

not complied with these obligations, and are not able to comply with the Decree due to lack of

staffing which in some cases is flat-out “dangerous”:

       Staffing is the key barrier to forward progress toward compliance. This report
       will demonstrate that on every level from facility supervisory staff, physicians,
       dentists, and nursing staff, IDOC has been unable to increase staffing and instead
       have less staff based on their own staffing analysis than in 2019. Physician
       staffing is now at 50% vacancy and has become dangerous as is evident in
       mortality reviews which are an attachment to this report. These mortality reviews
       demonstrate a linkage between facilities with physician shortages and increased
       morbidity and decreased quality of care. Lack of supervisory staff and line staff
       hampers the ability to implement the array of new policies and procedures.
       Lack of nursing, clerical, and data staff impair the ability of IDOC to collect and
       analyze data necessary to demonstrate compliance with the Consent Decree. Lack
       of quality improvement and supervisory staff result in inability of IDOC to
       undertake corrective actions. Infection control, quality improvement, and chronic
       care programs are all impaired due to staffing deficiencies. The Monitor cannot
       emphasize enough that staffing needs to improve dramatically and as soon as
       possible. . . Staffing must improve for IDOC to move forward.

Dkt. 1893, Eighth Report, at 5 (emphasis added). Rather than contending with these

straightforward findings, made by a team of medical professionals with decades of clinical

experience and over six years of monitoring IDOC’s system and this Consent Decree,

Defendants’ brief seeks to rewrite the Monitor’s findings and present irrelevant data and

information in a smoke-and-mirrors effort to mask the fact that they do not have enough staff to

implement the Decree or provide adequate care.



   2. Defendants have the burden to show their compliance with all provisions of the
      Consent Decree, and they have never demonstrated that they have “adequate . . .
      staff” or are making progress towards that goal.




                                                 4
 Case: 1:10-cv-04603 Document #: 1942 Filed: 06/04/25 Page 8 of 30 PageID #:33005




       Defendants have the obligation under the Decree to present the “data and information” to

show compliance with the Decree. Dkt. 1557 at 21, § V.G. In May 2024, the Court found that

defendants had not achieved compliance with any of the provisions cited in Plaintiffs’ motion,

Dkt. 1791, and there is a reason for that: defendants have never provided the proof. As a result,

the Monitor’s reports have consistently demonstrated their failure to comply. The Monitor’s

findings as to the provisions at issue are thoroughly detailed in the chart at Exhibit 1.

Defendants’ Response still does not produce any evidence that their current staffing is adequate

to implement the Decree or provide "appropriate” care. Id. at 5, § II.B.1. Tellingly, neither of the

declarations that defendants provide in support of their Response—the declaration of their

agency Chief of Healthcare Services, Dr. Steven Bowman (Dkt. 1934-1), and the declaration of

their Chief Administrative Officer Jared Brunk (Dkt. 1934-5)—asserts that IDOC has adequate

medical and dental staff for any purpose. What does speak volumes is the fact that, month after

month, the Wexford “reconciliation” worksheets show that IDOC’s principal vendor never

provides the hours required by its contract. See e.g. Dkts. 1865, 1866, 1934-6, 1934-7.

Mr. Brunk attested that these documents were “the most comprehensive measure of actually

provided Wexford staffing.” Dkt. 1842-6 at 3.

   3. Information on the number of off-site referrals to hospitalists, specialists, or
      diagnosticians proves nothing about the adequacy of Defendants’ on-site staffing,
      nor does it prove anything about the quality of care Defendants provide to patients
      in need of such services.
       Mr. Brunk’s declaration here concerns the amounts spent solely on “care provided to

prisoners at other hospitals, clinics, and offices” (Dkt. 1934 at 21 (ECF 25), emphasis added),

and the costs of same. Dkt. 1934-5. The information discussed in this declaration is entirely

irrelevant to the question of whether defendants have enough on-site medical staffing to provide

the “appropriate” care required by the Decree. The number of off-site providers is not part of


                                                 5
    Case: 1:10-cv-04603 Document #: 1942 Filed: 06/04/25 Page 9 of 30 PageID #:33006




defendants’ Staffing Analysis, nor is it part of the Consent Decree’s staffing requirements.

Plaintiffs’ motion is concerned with the adequacy of defendants’ on-site staff—it asserts that

defendants have breached the Decree with regard to the provisions related to hospital services

and off-site specialty and emergency care because IDOC’s on-site staffing is inadequate to

provide the care needed to facilitate and follow-up on off-site care. Dkt. 1924 at 13-15 (ECF 17-

19).

         Moreover, while Mr. Brunk’s declaration describes the money spent or costs accrued on

off-site healthcare, it tells us nothing about the quality of that care, how it compares to the care

that was needed by the current IDOC population, or whether that care satisfied any requirement

of the Decree. 1 It is impossible to judge the quality of care provided, or measure the adequacy of

the care provided, without knowing how the care provided compares to the need. 2 Moreover, the

implication that defendants’ increased expenditures on off-site care over the last decade equate to




1
  As the Monitor has found, it is impossible to know how many individuals needed off-site
services but did not get them or were delayed in getting them, because “IDOC does not track
delays in specialty care and their off-site specialty tracking logs do not consistently track the date
of referral so the extent of delays and lack of access cannot be determined from information and
data provided to the Monitor because it is not accurately tracked.” Dkt. 1893 at 181. But
mortality records demonstrated that patients who should be referred for specialty consultation or
diagnostic testing are not referred; patients who are referred for specialty care often do not go for
their appointment or go on a date that is not the scheduled date; referrals are not consistently
placed onto the off-site specialty tracking log or entries are inaccurate; many provider referrals or
recommendations for return follow up with a consultant that are not entered onto the log and/or
do not occur; reports of specialty consultations are often not obtained and when not obtained
there is no documented effort to obtain the report; providers do not consistently review off-site
consultation reports in a timely manner, nor do they consistently document findings of the
consultant; and providers seldom provide informed feedback to the patient. Id., at 181-82.
2
  As the Monitor has repeatedly explained, IDOC does not appropriately track information about
the need for off-site care in a way that would even allow for such analysis. Dkt. 1893 at 181-83.
And even the Pew Report, cited by Defendants in their response, cautions comparison of
spending variation per inmate because doing so requires “accounting for differences in the
incidence of costly conditions, including chronic disease.” Dkt. 1943-3 at 24.
                                                  6
Case: 1:10-cv-04603 Document #: 1942 Filed: 06/04/25 Page 10 of 30 PageID #:33007




improvements in the care provided is unsupported and ignores that increased expenditures may

be attributable to general increases in the cost of off-site services, an aging prison population,

and deficiencies in and deferments of preventative and chronic care, which require expensive

emergency and specialty services. 3

       Plaintiffs’ point as to off-site care (which falls into secondary and tertiary care) was that

defendants do not have the on-site staffing to timely refer people for off-site care or to implement

care suggested by the outside practitioners after outside care is received, breaching multiple

Decree provisions. Dkt. 1924 at 13-15 (ECF 17-19). “It is the Monitor’s belief that lack of

sufficient physicians is a root cause of many of the problem with specialty care because

physicians do not appear to have sufficient patient-time to manage complex patients and to

ensure that care occurs and is coordinated with consultants.” Dkt. 1893, Eighth Report, at 183.

“Lack of staffing (physicians and support staff) appears responsible for operational issues and




3
  Another Pew Report from 2018 (State Prisons and the Delivery of Hospital Care) notes that
“[t]he average age of those behind bars is rising, and the health needs of these individuals—like
older people outside of prison—are more extensive than those of younger cohorts, including
more hospitalizations.” Available at https://www.pew.org/fr/research-and-analysis/reports/
2018/07/19/state-prisons-and-the-delivery-of-hospital-care. This is true in Illinois, where the
population above age 60 has increased since 2018 (from 2,224 to 2,665), even as the overall
population has decreased (from 40,757 to 29,029). See IDOC Population Data Sets from June 20,
2018 and March 31, 2025, available at: https://idoc.illinois.gov/reportsandstatistics/prison-
population-data-sets.html. This Pew report also points out that, “[s]tate officials are also noting
an increase in the amount of care required for all adults entering correctional facilities.” In fact,
the total national health expenditures rose from $3.92 trillion in 2015 to $4.87 trillion in 2023 (all
figures adjusted to 2023 dollars), for a rise of 24%. Matthew McGough, et al., How Has U.S.
Spending on Healthcare Changed Over Time?, Peterson-KFF Health System Tracker (Dec. 20,
2024), https://www.healthsystemtracker.org/chart-collection/u-s-spending-healthcare-changed-
time/#Total%20national%20health%20expenditures,%201970-2023. Another point raised in the
2018 Pew Report linked above is that a rise in “preventable hospitalizations” can “indicate that a
vendor or its staff at a facility is not providing timely, effective primary care or using prescription
drugs effectively.” Thus, the higher expenditures on hospitalizations and emergency services that
defendants point to are not necessarily a good thing—they may actually indicate delayed access
to appropriate primary care as well as inappropriate management of chronic conditions.
                                                  7
Case: 1:10-cv-04603 Document #: 1942 Filed: 06/04/25 Page 11 of 30 PageID #:33008




provider follow up. Mortality reviews show many preventable deaths as a result of problems

with specialty care.” Id. at 186. To date, defendants’ steps towards compliance consisted only of

“promulgation of a policy.” Id.

       Proof that some patients were sent off-site for hospitalizations, or to see specialists or

diagnosticians, does not prove that those services were timely provided, or that adequate care

was provided to them before they were sent off-site, or that appropriate care will be provided

when they return to IDOC facilities. Cf. Petties v. Carter, 836 F.3d 722, 731 (7th Cir. 2016), as

amended (Aug. 25, 2016) (explaining that “repeatedly, we have rejected the notion that the

provision of some care means the doctor provided medical treatment which meets the basic

requirements of the Eighth Amendment”); Edwards v. Snyder, 478 F.3d 827, 831 (7th Cir. 2007)

(same). Indeed, if the care recommended by the specialist was never actually provided to the

patient when they returned to the facility, or no appropriate treatment plan was developed in

response to diagnostic results, defendants would not achieve adequate primary, secondary, and

tertiary care as required by § II.A of the Decree or have met the other Decree requirements

concerning on-site continuity of specialty care.

   4. Contrary to Defendants’ misleading assertions, the Monitor’s “partial compliance”
      ratings in some areas do not prove that they are making diligent efforts towards
      compliance.
       Since defendants have not achieved compliance with any of the provisions at issue here,

they attempt to distort the Monitor’s “partial compliance” ratings into some kind of proof of

progress on staffing. Dkt. 1934 at 2 (ECF 6) (falsely representing that “partial compliance”

ratings “are equivalent to findings that Defendants have made progress toward substantial

compliance on most of the key components of the section”), 8 (ECF 12) (same), 46 (ECF 52).

Those ratings prove nothing of the kind. Defendants conveniently cite only part of the Consent

Decree’s definition of “partial compliance;” the entire definition is as follows:

                                                   8
Case: 1:10-cv-04603 Document #: 1942 Filed: 06/04/25 Page 12 of 30 PageID #:33009




       “Partial Compliance” occurs when the Defendants have achieved less than
       substantial compliance with all of the components of a particular section of the
       Decree, but have made some progress toward substantial compliance on most of
       the key components of the section. A partial compliance rating encompasses a
       wide range of performance by the Defendants. Specifically, a partial
       compliance rating can signify that the Defendants are nearly in substantial
       compliance, or it can mean that the Defendants are only slightly above a non-
       compliance rating.

Dkt. 1557 at 3-4, § I.C.15.

       Defendants omit the portion bolded above, Dkt. 1934 at 2 (ECF 6), 8 (ECF 12), 48 (ECF

52), attempting to mislead the Court about the significance of the Monitor’s carefully awarded

“partial compliance” assessments. The Monitor’s reports make clear that a rating of “partial

compliance” is not proof that Defendants have made any substantial progress towards

implementation of the Decree’s provisions at issue here.

       Rather, the Monitor’s justification for giving a “partial compliance” rating often is based

on the creation of a written policy that, if implemented, would achieve the objectives of the

Decree. But the Monitor has consistently found that Defendants cannot implement these policies

(as required to move from “partial” to “substantial” compliance) due to lack of staffing. See Dkt.

1893, Eighth Report, at 5 (“Lack of supervisory staff and line staff hampers the ability to

implement the array of new policies and procedures.”); id. at 69 (“The Monitor believes there are

insufficient staff to implement policies and would add an additional corrective action to notify

OHS that lack of staffing to train and properly implement policies affects care because policies

cannot be implemented.”).

       Exhibit 1, which contains a detailed examination of the Monitor’s actual findings on each

of the provisions at issue here, shows that:

           •   7 provisions are rated completely noncompliant;



                                                 9
Case: 1:10-cv-04603 Document #: 1942 Filed: 06/04/25 Page 13 of 30 PageID #:33010




             •   Another 5 provisions are given ratings of noncompliant and partially compliant,
                 as the provisions relate to different aspects of care; and
             •   16 provisions are given partial compliance ratings due to creation of a policy or
                 some other change, but the policies cannot be implemented and/or compliance
                 cannot be reached without additional staffing.

To be quite clear, not one of the partial compliance findings on provisions referenced in

Plaintiffs’ enforcement motion was given because adequate staffing was in place.

   5. The Monitor’s findings related to inadequate staffing are based on defendants’
      inability to implement the Decree’s requirements and provide adequate care, not
      merely defendants’ failure to fill their budgeted positions.
       Defendants repeatedly assert that the Monitor’s findings related to staffing are based

solely on defendants’ failure to fill all budgeted-for medical staff positions. Dkt. 1934 at 9 (ECF

13) (asserting, without basis, that the Eighth Monitor Report “did not analyze the extent to which

actual deployed staff was sufficient to meet the Decree’s actual requirement—the constitutional

minimum—for a population of about 29,000 individuals”). But throughout the Monitor’s Eighth

Report, as with past reports, he evaluates the adequacy of current staffing to implement the

Decree’s requirements—requirements that defendants agreed were necessary to meet the

constitutional minimum—and finds that current staffing falls far short of what is needed. See

Exhibit 1.

   6. Defendants make a specious attack the Monitor’s use of record samples and
      mortality reviews without any methodological support.
       Defendants try to rely on the Monitor when it suits them but attack him when it does not.

Rather than producing any evidence that they have sufficient staffing to implement the Decree or

provide adequate care, defendants instead argue that the evidence plaintiffs rely on—primarily

the Monitor’s reports—is insufficient to demonstrate a significant or systemic violation of the

Decree. Dkt. 1934 at 49 (ECF 53). Specifically, defendants criticize the Monitor’s methodology,

including the results of the review of dozens of medical records, arguing that the records the

                                                 10
Case: 1:10-cv-04603 Document #: 1942 Filed: 06/04/25 Page 14 of 30 PageID #:33011




Monitor chose to review do not constitute a representative sample of the medical care system as

a whole and suffer from selection bias. Id. at 41-42. This criticism of the work of a team of

correctional healthcare experts sits poorly coming from defendants, whose sources and

methodology for the numeric claims that litter their Response are opaque at best, and who offer

no expert opinion to support their assertions.

       First, under the Decree, Plaintiffs are explicitly permitted to use the Monitor’s reports and

findings as evidence on ultimate issues, Dkt. 1557 at 27-28, § X.D. (“In any court proceeding

related to this Decree, the information gathered by the Monitor during the life of this Decree, the

Monitor’s reports, including all reports and materials supplied by defendants, may be used, and

the Monitor and his or her consultants may testify and opine upon ultimate issues in this case.”).

Plaintiffs are entitled to rely on the Monitor’s findings to support their enforcement motion, and

it is defendants’ burden to rebut the Monitor’s findings. They have not done so.

       Second, the definition of selection bias quoted by defendants states that such bias may

occur “when a researcher only selects data for a study that supports a given hypothesis” without

ensuring that samples are “appropriately representative of the larger entity or population being

measured.” Dkt. 1934 at 42 (ECF 46). But here, the Monitor did not even select the sample used

for the mortality review—he sourced them from defendants’ own mortality reviews conducted by

SIU. See Dkt. 1893, Eighth Report, at 76-83; Dkt. 1725, Seventh Report, at 128-133. Thus, the

Monitor could not possibly have engaged in the “cherry picking” defendants allege. Moreover,

the random sampling that defendants seem to prefer would not make sense here—it would

include many prisoners who do not have significant medical problems, which would not allow

for any evaluation of the quality of care provided. In contrast, mortality reviews allow the

Monitor to assess systemic problems in the provision of medical care across IDOC.



                                                 11
Case: 1:10-cv-04603 Document #: 1942 Filed: 06/04/25 Page 15 of 30 PageID #:33012




       Likewise, defendants have not produced any evidence that the Monitor’s use of mortality

reviews is designed to confirm any particular hypothesis—the fact of the patient’s death does not

mean ipso facto inadequate care was provided (though, of course, these mortality reviews did

“demonstrate a linkage between facilities with physician shortages and increased morbidity and

decreased quality of care,” Dkt. 1893, Eighth Report, at 5).

       Defendants ludicrously claim that mortality reviews and other medical records samples

have “no validity” and are “universally rejected as inadmissible.” Id. at 43. On the contrary,

every hospital in the country engages in mortality reviews, as they are a standard method to

examine the efficacy of medical care delivery and reveal problems across hospital systems. Dkt.

1864 at 18-19; see also Daniel M. Kobewka, et al., Quality Gaps Identified Through Mortality

Review, 26 BMJ Quality & Safety 141 (2017) (https://www.ncbi.nlm.nih.gov/pmc/articles/PMC

5284344/) (“A natural step for hospitals tracking mortality rates is to create processes to

investigate deaths and determine if care could be improved.”); Kelvin Tran, et al., Review of the

Utility of Routine Mortality Reviews Among Deaths on General Internal Medicine Wards in a

Canadian Tertiary Care Hospital, 11(4) BMJ Open Qual e001933 (Nov 2022)

(https://www.ncbi.nlm.nih.gov/pmc/articles/PMC9644347/) (“Hospital morbidity and mortality

reviews are common quality assurance activities, intended to uncover latent or unrecognized

systemic issues that contribute to preventable adverse events and patient harm.”).

       Mortality reviews are also common in systemic reform litigation. See, e.g., Jensen v.

Shinn, 609 F. Supp. 3d 789, 823 (D. Ariz. 2022), amended, No. CV-12-00601-PHX-ROS, 2022

WL 2910835 (D. Ariz. July 18, 2022) (discussing medical expert analysis of mortality reviews

and noting that they “do not simply evaluate each prisoner’s final interaction” with the prison

health care system but rather “show systemic failures as well”); Lewis v. Cain, 701 F. Supp. 3d



                                                 12
Case: 1:10-cv-04603 Document #: 1942 Filed: 06/04/25 Page 16 of 30 PageID #:33013




361, 416-17 (M.D. La. 2023) (finding lack of meaningful mortality review contributed to

unconstitutional system of healthcare). Indeed, for the purpose of determining the quality and

safety of hospital care, one study found that reviewing inpatient deaths was both sufficient and

more efficient than reviewing all adverse events (such as prolonged hospital stays or disabilities).

See Rebecca J. Baines, Maaike Langelaan, Martine C. de Bruijne, & Cordula Wagner, Is

Researching Adverse Events in Hospital Deaths a Good Way to Describe Patient Safety in

Hospitals: A Retrospective Patient Record Review Study, 5(7) BMJ Open e007380 (2015)

(https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4499703/).

       As for defendants’ suggestion that the Monitor’s findings are insufficient to show

significant and systemic violations of the Decree, Dkt. 1934 at 41 (ECF 45), defendants again

forget that it is their duty under the Decree to provide information sufficient for evaluating their

compliance. Dkt. 1557 at 21, § V.G. If defendants believe that the Monitor needed to review

other records, they should have provided them; instead, as the Monitor has found, defendants

continue to fail to provide the requisite data and information required by the Decree, including

proper V.G. reports or a comprehensive audit. See Dkt. 1893, Eighth Report, at 6.

       Defendants' response likewise makes no attempt to provide the Court with evidence that

contradicts the Monitor’s findings. The evidence of ongoing, irreparable harm to the plaintiff

class caused by inadequate staffing is unrebutted.

   7. Defendants’ assertion that they have “succeeded at increasing staffing” is false.
       In asserting that they have “dramatically increased” internal staffing “since the entry of

the Decree,” defendants perplexingly cite to staffing and population data from 2015 and 2018.

These dates are wholly irrelevant to an argument about how staffing has changed during the life




                                                 13
Case: 1:10-cv-04603 Document #: 1942 Filed: 06/04/25 Page 17 of 30 PageID #:33014




of the Decree, since the Decree was entered in May 2019. 4 Moreover, Defendants must use ratios

rather than raw numbers to support this argument because the overall level of staffing has not

changed much—rather, their claims are based on a drop in population, not a substantial increase

in actual staff.

        Most importantly, the Monitor has consistently found that defendants’ staffing has

declined over the life of the Decree, especially in key positions, and that current staffing levels

remain insufficient to implement the Decree or provide safe and adequate care. Dkt. 1893, Eighth

Report, at 22-23 (“Overall staffing has worsened over the five years since the inception of the

Consent Decree”). The Monitor has responded directly to defendants’ assertions about decreases

in prison population, concluding that “[e]ven given the lower population, IDOC has neither

implemented the Consent Decree nor its own policies and the Monitor’s opinion is that

staffing is a key barrier in implementing requirements of the Consent Decree.” Id.

        And even if overall staffing numbers have increased in recent months, key positions

remain vacant, impeding the administration of adequate healthcare. The Monitor has warned for

years that “physician staffing is dangerously low,” (Dkt. 1893, Eighth Report, at 22-23; see also

Dkt. 1725, Seventh Report, at 43 (noting that 33% of physician positions remained vacant);

Dkt. 1661, Sixth Report, at 46 (“staffing is worse than at the start of the Consent Decree and it

has become a crisis and is dangerous because the greatest deficiencies in staffing are at

supervisory and higher skilled levels” and “[t]here are 17 fewer physicians working in IDOC

now than in 2019”). In the latest Report, as with past reports, the Monitor has recommended that



4
  One example of the absurdity of using 2015 and 2018 data is that it does not reflect the
population that existed at the time the Decree was signed. Defendants generate flawed staffing
ratios based on prisoner populations of 46,240 in 2015 and 40,758 in 2018, but in June 2019, just
after the Decree was signed, the IDOC population was 39,180. See IDOC 6-30-19 Data Set,
available at https://idoc.illinois.gov/reportsandstatistics/prison-population-data-sets.html.
                                                 14
Case: 1:10-cv-04603 Document #: 1942 Filed: 06/04/25 Page 18 of 30 PageID #:33015




additional physicians be allocated at several facilities due to “high population, high death rate,

and high numbers of specialty care patients.” Dkt. 1893, Eighth Report, at 22-23; see also Dkt.

1661, Sixth Report, at 46 (“The Monitor recommends that the physician staffing budget be

increased at several facilities.”).

        As the table below demonstrates, defendants have fewer people now in the very positions

that they acknowledge are necessary to administer a functional healthcare system:

Figure 1: Staffing in Key Positions, by Number of FTE Actually Filled


                         Number of positions                              Average number of
                         filled in May 2019     Number of positions       positions filled in the last
                         (when the Decree       filled as of the August   year (Q3 2024 through Q2
                         was entered)           2021 Staffing Analysis 2025)
 Medical Directors                          27                     19.02                           16.6
 Physicians                                7.1                          3                           1.6
 HCUAs                                      26                        26                           23.3
 Dentists (WHS)                         24.45                       24.4                           16.8
Sources: Exhibit 4, 5.13.19 Staffing Vacancies; Dkt. 1276, First Report, at 26; Dkt. 1814-2,
Staffing Analysis, at 50-51; Dkt. 1934-6, 1934-7.

       And even for positions where the FTEs have increased as a matter of raw numbers, such
as PA/NPs, as will be seen in Figure 2 below, the percentage of budgeted positions filled has
decreased over the life of the Decree. See Exhibit 4, Dkt. 1814-2, and Dkt. 1934-7.

    8. The staffing “ratios” generated by Defendants in their Response are meaningless
       and misleading, and demonstrate nothing about the adequacy of Defendants’
       staffing.
        In a transparently desperate effort to mask their failure to improve meet the Decree’s

obligations and improve care over the past six years, defendants take one of their already

questionable propositions (that the August 2021 “staffing analysis” relied on a lower population

than the one listed on the face of the document) and combine it with 2015-16 information from a

chart in a 2017 report on prison healthcare nationwide (Prison Health Care: Costs and Quality,

issued by the Pew Charitable Trusts in October 2017) (the “Pew Report”) to generate the


                                                 15
Case: 1:10-cv-04603 Document #: 1942 Filed: 06/04/25 Page 19 of 30 PageID #:33016




remarkable but completely unsupportable and totally irrelevant claim that they are now at the

“median” of nationwide healthcare staffing based on “ratios.” Dkt. 1934 at 1, 24-26, 43-44 (ECF

5, 28-30, 47-48).

           Plaintiffs asked Dr. Mark Stern, a nationally recognized correctional healthcare expert, 5

to provide a short opinion on staffing ratios. His affidavit is attached as Exhibit 2, along with his

current CV. As Dr. Stern explains, “[t]he adequacy of staffing (e.g., by describing staffing ratios)

cannot be determined without taking into account the specific context in which the staff operate.”

Id. at ¶ 4 (emphasis added). In other words, staffing levels must be considered on a facility level,

because that is how the medical care system is administered, by defendants’ own description.

Dkt. 1934 at 13 (ECF 17). Each facility is supposed to have its own healthcare leadership

including a medical director and a healthcare unit administrator, to manage the other medical

care staff. Id. If there is no physician at one facility, prisoners cannot leave their facility to obtain

care at another facility, so looking at the system’s staffing in the aggregate is of limited, if any,

usefulness.

           Per Dr. Stern, ratios also fail to consider other crucial factors, including:

           •   patient severity of illness
           •   comorbid mental health problems, and patient ability to understand and participate in
               their own care
           •   physical plant (e.g., amount of usable clinic space in which the staff can see patients
               efficiently)
           •   operational factors (e.g., how much ‘usable’ time there is during the day for staff to
               see patients, which can be impacted by times of the day when resident movement is
               restricted or the need to separate certain residents from others); and
           •   adequacy of custody staffing responsible for escorting patients to and from health
               care appointments.”
Exhibit 2, at ¶ 4. The Pew Report itself says that “there is no available one-size-fits-all template

for staffing,” because states must “weigh numerous factors when determining what size and


5
    Dr. Stern was plaintiffs’ litigation expert in the earlier stages of this case.
                                                          16
Case: 1:10-cv-04603 Document #: 1942 Filed: 06/04/25 Page 20 of 30 PageID #:33017




composition is appropriate.” Dkt. 1934-3 at 25. But defendants’ systemwide “staffing ratio”

deployed relentlessly throughout their Response provides no information about the relationship

between their current staffing, the needs of their population, or whether any particular prison has

the staff that it needs.

        Defendants’ use of their “ratio” is also methodologically suspect, to say the least. The

Pew Report, from which defendants take their supposed benchmark, used information collected

by Pew researchers in surveys issued in 2015-16; the requested staffing information was sought

as of “fiscal 2015 or the most recent year possible.” Dkt. 1934-3 at 61-63 (Report at 57-59). The

methodology for the surveys is briefly described in the report, but included a “quality assurance”

process, and some states’ data was excluded from the staffing-level analysis as a result. See id. at

61-66 (Report at 57-62). Data from 2015-16 is hardly pertinent here, and even if it were, there is

nothing in defendants’ description of their use of this 2015-16 “ratio” information to defend

themselves now, in 2025, that suggests that they attempted to re-survey themselves in accordance

with the methodology used by the Pew researchers—and it is obvious that they did not attempt to

re-survey the other states. They just took the nationwide 2015-2016 data, collected by a process

that they made no apparent attempt to replicate, and mapped themselves onto it ten years later,

using their own current data collected by a different method. Indeed, while the Pew Report states

that, in 2015-16, Illinois provided staffing data as “a one-day snapshot of the number of health

professional full-time equivalents” (Dkt. 1934-3 at (Report at 71), defendants would find it

impossible to provide that “snapshot” currently. Dkt. 1814-2 at 5, ¶ 22.

        Producing overall staffing ratios without regard to staffing type is likewise nonsensical.

An abundance of administrative staff or LPNs cannot make up for the absence of a medical

director, physician, or HCUA, no matter how effective they may be at their individual jobs. And



                                                 17
Case: 1:10-cv-04603 Document #: 1942 Filed: 06/04/25 Page 21 of 30 PageID #:33018




the actual percentages of vacancies in key positions is staggering, and has worsened over the life

of the Decree:

Figure 2: Percentage of Key Positions Filled Over Time


                                                  Percent of allocated
                                                  positions filled at the     Percent of allocated
                          Percent of allocated    time the August 2021        positions filled in the
                          positions filled in     Staffing Analysis was       last year (Q3 2024
                          May 2019                conducted                   through Q2 2025
 Medical Directors                          100%                        70%                         66%
 Physicians                                   74%                       58%                         27%
 PA/NPs                                       79%                       89%                         68%
 HCUAs                                        90%                       90%                         80%
 Dentists (WHS)                               82%                       78%                         52%
Sources: Exhibit 4, 5.13.19 Staffing Vacancies; Dkt. 1276, First Report, at 26; Dkt. 1814-2,
Staffing Analysis, at 50-51; Dkt. 1934-6, 1934-7.

       Finally, as Dr. Stern notes, comparing this flawed staffing ratio to ratios in other states is

“meaningless without an analysis of (a) the quality of care in the comparison states and (b) the

factors described above.” Exhibit 2, Stern Aff., at ¶5. As Dr. Stern points out, “California …

ranks higher than Illinois in defendants’ table of staffing ratios” presented in defendants’

response, Dkt. 1942 at 29, “yet is currently under court receivership due to unconstitutional

levels of health care.” Id.“[S]taffing levels (i.e., the raw number of bodies), by themselves, are

not dispositive of constitutionally adequate care.” Exhibit 2, Stern. Aff., at ¶6.

   9. Plaintiffs’ request for this Court to find a violation (or “breach”) of the Decree is not
      barred by (and does not even implicate) sovereign immunity.
       Defendants are contemptuous of the idea that the Decree is a contract when they fear it

might actually bind them, so they also claim in their Response that sovereign immunity obviates

their voluntarily assumed contractual commitments. Dkt. 1934 at 3, 32-34 (ECF 7, 36-38).

Defendants pretend that this Court’s dismissal of plaintiffs’ breach of contract claim in the



                                                  18
Case: 1:10-cv-04603 Document #: 1942 Filed: 06/04/25 Page 22 of 30 PageID #:33019




supplemental complaint (a claim that sought financial compensation) means that they are now

freed of their contractual obligations under the Decree.

       Defendants’ argument on this point, however, is hard to parse. The Court dismissed

plaintiffs’ breach of contract claim because it agreed with defendants that “they are immune from

a common-law breach-of-contract suit for money damages . . .” Dkt. 1902 at 5-6. The

enforcement orders sought here are not requests for damages, and as the Court noted, defendants

seem to know that the Decree can be enforced against them (see id. at 6); moreover, in their

Response here defendants acknowledge that the “‘courts may enjoin ongoing behavior by state

officials that violates federal law’” and “‘[t]hey may also order state officials to act in a certain

manner . . . that may cost the state money to implement.’” Dkt. 1934 at 32 (ECF 36), quoting

McDonagh Assocs., Inc. v. Grunloh, 722 F.3d 1043, 1050-51 (7th Cir. 2013). 6

       Defendants also acknowledge that, as a matter of process, a contempt proceeding is an

appropriate mode of decree enforcement (see Dkt. 1934 at 33-34 (ECF 37-38)); in the end, as

best plaintiffs can make it out, their problem seems to boil down to the use of the word “breach.”

Defendants object that although “a consent decree is ‘interpreted according to principles of state

contract law,’” Dkt. 1934 at 33 (ECF 37), quoting Holmes v. Godinez, 991 F.3d 775, 780 (7th Cir.

2021), “this does not mean that it can be enforced against a sovereign state through breach

theories sounding in state law.” Id. (emphasis added). This is completely beside the point for a




6
  Defendants do their best to obscure this point, however, by citing the wrong case, Pennhurst
State School & Hospital v. Halderman, 485 U.S. 89 (1984), Dkt. 1934 at 32 (ECF 36), which is
flatly inapposite. Defendants fail to mention Frew ex rel. Frew v. Hawkins, 540 U.S. 431 (2004),
where the Supreme Court decisively found that a consent decree that was “a federal court order
and furthers the objectives of federal law”—like the Decree here—could be enforced against a
state despite its plea of Eleventh Amendment immunity. Id. at 438-39. Frew held that the
principles of Pennhurst—which involved state law claims—do not apply in cases involving
federal consent decrees implementing federal law. Id.
                                                  19
Case: 1:10-cv-04603 Document #: 1942 Filed: 06/04/25 Page 23 of 30 PageID #:33020




federal consent decree based on federal constitutional rights. It is also black letter law that a

consent decree is a hybrid of court order and contract, see Local No. 93, International Assoc. of

Firefighters, AFL-CIO C.L.C., 478 U.S. 501, 519 (1986); see also Holmes, 991 F.3d at 780,

quoting United States v. Alshabkhoun, 277 F.3d 930, 934 (7th Cir. 2002). “Breach” is descriptive:

it is the normal way of describing a party’s failure to perform its obligation under a contractual

provision, and this would be true no matter which jurisdiction’s contract law provided the rule of

interpretation. Both the Supreme Court and the Seventh Circuit have used the term in reference

to court orders entered by agreement. See, e.g., Kokkonen v. Guardian Life Ins. Co. of America,

511 U.S. 375, 381 (1994) (noting that “if the parties' obligation to comply with the terms of the

settlement agreement had been made part of the order of dismissal . . . [in] that event, a breach of

the agreement would be a violation of the order”); Rasho v. Walker, 22 F.4th 703, 706 (7th Cir.

2022) (“Under the terms of the agreement, [plaintiffs] needed to prove that the defendants’

breach itself caused an Eighth Amendment violation”). The Court has already found that

defendants have not complied with the provisions of the Decree at issue here (and many others;

see Dkt. 1791)—it is hardly a stretch to say, now in the seventh year of the Decree, that these

failures also constitute breaches of this contract, and defendants provide no good reason why the

Court should not so find.

   10. A finding of “breach” (or violation, or failure to comply) is an appropriate first step
       in contempt proceedings under a Consent Decree.
       In previous enforcement proceedings, involving defendants’ failure to draft the required

Implementation Plan or to obtain a contract for a vendor to install an Electronic Medical Record

(EMR) system, this Court has begun the process towards contempt by first finding that

defendants had breached or violated the Decree. See Dkt 1527, 10/5/2021 Transcript, at 10-11

(regarding to the Implementation Plan, “I just want to make it clear that I agree with the monitor


                                                  20
Case: 1:10-cv-04603 Document #: 1942 Filed: 06/04/25 Page 24 of 30 PageID #:33021




and the plaintiffs that what has been submitted, what I have seen, is not near good enough and is

not sufficient and does constitute a straightforward breach”); Dkt. 1781, 2/13/2024 Transcript, at

17-18 (finding, with regard to the EMR, that “[a]fter reviewing the record, it is my finding that

there is a clear violation here, and if they aren’t taking reasonable steps towards compliance, then

they can be held in contempt and fines can be imposed”).

       As this Court has explained to the parties during the contempt proceedings related to the

EMR contract, the process “typically plays out as follows:”

       If the plaintiff, the party obtaining the injunction, believes that the defendant, the
       enjoined party, is failing to comply with the injunction, the plaintiff moves the
       court to issue an order to show cause why the [defendant] should not be adjudged
       in civil contempt and sanctioned. The plaintiff's motion cites the relevant
       injunction provision and alleges that the defendant has refused to obey its
       mandate. If satisfied that the plaintiff's motion states a case of noncompliance, the
       court orders the defendant to show cause why he or she should not be held in
       contempt, and the court schedules a hearing for that purpose. At the hearing, if the
       plaintiff proves that he or she has -- if the plaintiff proves what he or she has
       alleged in the motion, the court hears from the defendant. The court then
       determines whether the defendant has complied with the injunction, and, if not,
       what sanctions are necessary to ensure compliance.

Dkt. 1781 at 19-20. Plaintiffs are merely asking this Court to follow this same procedure

here, by first finding that defendants have not complied (or “breached”) the Decree, and

then holding further proceedings related to contempt.

   11. Given the procedure outlined by this Court for making a finding of contempt,
       Defendants’ arguments related to PLRA findings and contempt showings are
       premature.
       While PLRA findings may be necessary to support an order for relief based on

defendants’ contempt, they are not yet necessary at this stage, where plaintiffs first seek a simple

finding of breach (or noncompliance), to be followed by a hearing on whether defendants should

be held in contempt. Plaintiffs’ motion, Dkt. 1924, does not request that the Court formulate any


                                                 21
Case: 1:10-cv-04603 Document #: 1942 Filed: 06/04/25 Page 25 of 30 PageID #:33022




relief to remedy the alleged violations at this juncture. Rather, plaintiffs merely ask the Court to

declare that defendants are in breach of the Decree and set up a contempt hearing.

       Likewise, defendants’ arguments regarding the required contempt showings are

premature; these are subjects for a contempt hearing, not for an initial request for a finding of

violation of the Decree. Nonetheless, plaintiffs will address these arguments briefly as follows:

       First, Defendants’ argument that the Decree’s commands are not “unambiguous,”

Dkt. 1934 at 38-40 (ECF 42-44), is not credible. Defendants argue that the terms “adequate,”

“sufficient,” and “appropriate” used by the Decree cannot be enforced because they are

“indeterminate.” But the Decree explicitly required defendants to give meaning to these terms

through the Staffing Analysis, Dkt. 1557 at 18, §IV.A, which defendants did in August 2021, but

now disclaim. Defendants cannot shirk their duty to analyze and produce an analysis of staffing

adequate to implement the policies required by the Decree and then assert that the adequate

number of staffing is unknown or unknowable. By defendants’ logic, they can simply prevent

plaintiffs from ever vindicating their rights under this Decree by simply refusing to conduct the

analysis they promised in the Decree to do.

       As for defendants’ accusations that plaintiffs have somehow “cherry-picked” the

Monitor’s reports for evidence of their noncompliance, nothing could be further from reality. The

Monitor’s reports provide exactly the type of “clear and convincing” evidence that demonstrates

that defendants’ failures to hire and maintain adequate staffing are “substantial and significant”;

indeed, the reports have consistently and thoroughly demonstrated Defendants’ complete and

utter failure to provide adequate staffing to achieve compliance with almost any provision of the

Consent Decree. It is telling that defendants cannot and do not cite to competing findings or

evidence in the Monitor’s reports to refute plaintiffs’ marshaling of evidence.



                                                 22
Case: 1:10-cv-04603 Document #: 1942 Filed: 06/04/25 Page 26 of 30 PageID #:33023




       Defendants do not present any evidence that they are making “reasonable and diligent

efforts to comply,” other than their distorted reading of the Monitor’s findings, as addressed

above and in Exhibit 1.

       As for defendants’ assertion that Rule 37.1 requires an affidavit to provide notice of

alleged contempt, Plaintiffs’ motion thoroughly details the alleged contemptuous conduct.

Courts have excused strict compliance with this local rule when “compliance would have been

an exercise in otiosity.” Mon Ros Int'l for Gen. Trading & Contracting, W.L.L. v. Anesthesia

USA, Inc., No. 17 C 7365, 2019 WL 132596, at *6 (N.D. Ill. Jan. 8, 2019) (citing Murata Mfg.

Co. v. Bel Fuse, Inc., 242 F.R.D. 470, 474 (N.D. Ill. 2007)). While the purpose of the rule

appears satisfied by the current filings, plaintiffs will of course provide such an affidavit if the

Court requires one to be filed prior to contempt proceedings.

   12. Plaintiffs have completed the dispute resolution process as to defendants’ persistent
       staffing deficiencies, and defendants have continually refused to propose any plan to
       improve their staffing.
       Defendants’ last-ditch effort against the process here is to say that it cannot go forward

because of the Decree’s dispute resolution requirements, which are to be completed before either

party can seek “relief from the Court.” Dkt. 1557 at 27, § X.D. Plaintiffs completed not one but

three rounds of dispute resolution with defendants about staffing under various Decree

provisions between May 2022 and October 2023—one about physician staffing; the second

about dentist and dental hygienists; and the third about all other medical and dental staffing

vacancies. Dkt. 1814-9, 1814-10, and 1814-11. This correspondence cited the findings in the

Monitor’s reports, and referred to all of the overarching provisions of the Decree that concern the

need for adequate staff, including Section II.A, which requires defendants to “implement

sufficient measures . . . to provide adequate medical and dental care” and to “ensure the

availability of necessary services, supports and other resources” to meet serious medical and

                                                  23
Case: 1:10-cv-04603 Document #: 1942 Filed: 06/04/25 Page 27 of 30 PageID #:33024




dental needs; Section II.B.2, which mandates “adequate qualified staff”; Section II.B.3, which

requires “enough trained clinical staff [], oversight by qualified professionals, as well as

sufficient administrative staff”; Section III.K, which requires “routine and comprehensive dental

care” and “regular dental cleanings,” inter alia; and Section II.B.1, which requires defendants to

“provide access to an appropriate level of primary, secondary, and tertiary care.” See id. The third

round of correspondence also referred to the provisions of the Decree concerning the staffing

analysis and its incorporation into the implementation plan, §§ IV.A.2 and IV.B. Dkt. 1814-11 at

3. At the time—late summer and fall 2023—defendants had not yet repudiated the

implementation plan and the staffing analysis as they now do, Dkt. 1934 at 6 (ECF 10), and

plaintiffs hoped that the plan would provide some impetus and structure for increased staff hiring

as provided for in the analysis. This hope proved vain, and after subsequent meetings on the

topic were fruitless, plaintiffs filed their first motion concerning staffing in June 2024. Dkt. 1814.

       From defendants’ responses, there is no doubt that plaintiffs’ dispute resolution

correspondence put defendants on notice of plaintiffs’ concerns. Unlike defendants’ current

position—which asserts, against all evidence, that they do have enough staff—defendants urged

in the dispute resolution process that hiring was difficult, that COVID had created a “critical

shortage” of healthcare workers, and that they were “diligently working to increase staffing” and

using “best efforts” towards same. Dkt. 1814-9 at 5-7, 9; Dkt. 1814-10 at 6, Dkt. 1814-11 at 5-7

and 11-12. Defendants nevertheless spend five pages of their massive brief complaining that

plaintiffs have somehow failed to complete the Decree dispute process as to the sections

explicitly mentioned in plaintiffs’ letters—the overarching provisions concerning staffing and

support for care that require adequate staffing. Dkt. 1934 at 27-32 (ECF 31-36). They falsely

claim that plaintiffs did not even “initiate” dispute resolution. Id. at 27 (ECF 31).



                                                 24
Case: 1:10-cv-04603 Document #: 1942 Filed: 06/04/25 Page 28 of 30 PageID #:33025




       This spurious argument does not warrant the Court’s time. 7 Defendants mock plaintiffs’

position that dispute resolution with them is “futile,” but they are the ones who asked plaintiffs to

consider, as “evidence” of their “diligent[]” physician hiring efforts during the first dispute

resolution at issue here, a Wexford memo listing “Dinner/Wine Tasting event in Makonda, IL”

and a Lake Michigan cruise, among other similar events. Dkt. 1814-9- at 12. During the third

round of dispute correspondence (in October 2023), defendants provided another Wexford memo

as their principal response, plus a slew of articles that included a June 2021 report that “Over the

past year, three of the nine teachers at the Friends Preschool and Kindergarten in Milford, Mich.,

left their jobs” and three articles about nursing shortages in Western Pennsylvania and Pittsburgh

(where Wexford is headquartered). See Exhibit 3; see also Dkt. 1814-11 at 16. These do not show

good faith engagement with the process or the underlying problem. And of course, none of these

rounds of dispute resolution efforts have led to improvements in defendants’ performance.

       When the problem is staffing, the staffing provisions of the Decree are the ones that

should be raised in dispute resolution. Plaintiffs have done exactly that—dispute resolution on

the issue of staffing is complete as to §§ II.A, II.B.1, II.B.2, II.B.3, III.K, IV.A.2 and IV.B. Those

provisions are ripe for a finding of breach and a hearing on and remedy for contempt. 8



7
 Indeed, the Court already granted Defendants another opportunity, at the last in-person status
hearing, to present a plan to address Plaintiffs’ concerns about staffing, as had been laid out in
detail in Plaintiffs’ June 2024 motion, Dkt. 1814, without need for plaintiffs’ refiling of an
enforcement motion, and Defendants declined, once again, to do so. Dkt. 1926, Transcript of 4-
10-25 hearing, at 26-28 (“It’s pretty clear that it would be a waste of time to invite the defense to
make a proposal.”).
8
  Defendants are correct that as to some of the less overarching provisions of the Decree raised
in Plaintiffs’ motion, where lack of staff has caused failure of compliance (e.g., failure to have
RNs complete sick call, or to complete timely medical intake evaluations), plaintiffs had not
gone through the (futile) dispute resolution process. Plaintiffs have initiated that process as to
those remaining provisions now, in case the Court has any doubt as to its ability to hold
defendants responsible for violation of those provisions unless plaintiffs have completed this
                                                  25
Case: 1:10-cv-04603 Document #: 1942 Filed: 06/04/25 Page 29 of 30 PageID #:33026




                                         CONCLUSION

       There can be no doubt that defendants’ conduct as to staffing, and those provisions of the

Decree most impacted by lack of staffing, amounts to contempt of a court order as well as

deliberate indifference to the class members’ medical and dental needs. Plaintiffs understand that

this Court believes it must make findings of needs/narrowness/intrusiveness before ordering a

remedy for that contempt, and Plaintiffs are prepared to submit proposed findings at the

appropriate time, after discovery and a hearing on contempt. But first, Plaintiffs respectfully

request that the Court take the following steps: (1) find that defendants have breached the

provisions of the Decree set out in Exhibit 1 and that the breaches are due in whole or in part to

inadequate medical and dental staffing, as the Monitor has repeatedly found; (2) direct

defendants to show cause why they should not be held in civil contempt for these ongoing and

longstanding breaches of a court order; (3) set a show cause hearing on contempt pursuant to

Local Rule 37.1 and make a finding of contempt; (4) thereafter set a further schedule for briefing

and an evidentiary hearing on remedy for contempt. The remedial order should include PLRA

findings as needed.

DATED: June 4, 2025                                   Respectfully submitted,

                                                      DON LIPPERT, et al.

                                                      By: /s/Camille E. Bennett
                                                      One of their attorneys




useless formality. The process will be complete in time for the Court to find defendants in
contempt of those provisions and issue any order by the time these proceedings run their course.
                                                 26
Case: 1:10-cv-04603 Document #: 1942 Filed: 06/04/25 Page 30 of 30 PageID #:33027




Alan Mills                                  Camille E. Bennett
Nicole R. Schult                            Samantha Reed
Alyssa Meurer                               Roger Baldwin Foundation of ACLU, Inc.
Uptown People’s Law Center                  150 N. Michigan Ave., Ste. 600
4413 North Sheridan                         Chicago, IL 60601
Chicago, IL 60640

Harold C. Hirshman
Diane O’Connell
Dentons US LLP
233 S. Wacker Drive, Ste. 5900
Chicago, IL 60606




                                       27
